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                            UNITED STATES DISTRICT COURT
                        DISTRICT OF IDAHO (NORTHERN DIVISION)

CODY J. SCHUELER, an individual,

                       Plaintiff,                Case No. 2:22-cv-00389-DCN

      v.
                                                 NOTICE OF DEFENDANT MICAH
FOUR SQUAREBIZ, LLC, a Wyoming                   EIGLER’S BANKRUPTCY
limited liability company, KEITH O.
CREWS, an individual and the associated
marital community, MICAH EIGLER, an
individual and the associated marital
community, and JOHN AND JANE DOES
1-10,

                       Defendants.


      COMES NOW, Plaintiff CODY J. SCHUELER, by and through his attorney of record,

Andrew M. Wagley of Etter, McMahon, Lamberson, Van Wert & Oreskovich, P.C., and

hereby provides this Notice of Defendant Micah Eigler’s Bankruptcy.

      On or about April 10, 2023, counsel for Plaintiff received Official Form 309A, entitled

“Notice of Chapter 7 Bankruptcy Case,” regarding Defendant Micah Eigler. As indicated




   Notice of Defendant Micah Eigler’s              ETTER, MCMAHON, LAMBERSON,
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                                                      SPOKANE, WASHINGTON 99201 (509) 747-9100
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therein, Defendant Micah Eigler filed Chapter 7 Bankruptcy on April 4, 2023 in the Central

District of California, Case No. 1:23-bk-10422-MB.

      Despite the potential automatic stay applying to Defendant Eigler in this matter,

Plaintiff still intends to seek Default Judgment against the remaining Defendants herein to the

fullest extent allowed by law and equity.

      RESPECTFULLY SUBMITTED this 28th day of April, 2023.

                                        ETTER, McMAHON, LAMBERSON,
                                         VAN WERT & ORESKOVICH, P.C.


                                        By_/s/ Andrew M. Wagley ____________
                                          ANDREW M. WAGLEY, ISB #10277
                                          Attorney for Defendants




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                                  CERTIFICATE OF SERVICE

      I hereby certify that on the date indicated herein, I caused a true and correct copy of the

foregoing to be filed with the Clerk of the Court using the CM/ECF System, which will send

notification of such to all attorneys of record.

      EXECUTED this 28th day of April, 2023 in Spokane, Washington.


                                        By: /s/ Jodi Dineen
                                           Jodi Dineen




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